 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 1 of 11 Page ID #:246



1    Michael G. Freedman (State Bar No. 281279)
     THE FREEDMAN FIRM PC
2    800 Wilshire Blvd., Suite 1050
     Los Angeles, California 90017
3    Telephone: (213) 816-1700
     Facsimile: (213) 816-1706
4    Email: Michael@thefreedmanfirm.com
5    Attorney for Claimant
     DERRICK POLK
6

7

8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                ) Case No.: 2:21-CV-06966-RGK-MAR
                                              )
12                Plaintiff,                  ) CLAIMANT DERRICK POLK’S
                                              ) OPPOSITION TO PLAINTIFF
13         vs.                                ) USA’S MOTION FOR AN ORDER
                                              ) TO STAY THIS CIVIL
14   $399,000 IN U.S. CURRENCY AND            ) FORFEITURE PROCEEDING;
                                              ) MEMORANDUM OF POINTS AND
15   MISCELLANEOUS ITEMS OF                   ) AUTHORITIES
                                              )
16   JEWELRY,                                 ) Date: February 22, 2022
                                              ) Time: 9:00 a.m.
17                Defendants.                 ) Courtroom: 850, Hon. R. Gary Klausner
                                              )
18

19         Claimant Derrick Polk (“Claimant”), by and through his counsel of record,
20   hereby submits his Opposition to Plaintiff United States of America’s Motion for
21   an Order To Stay This Civil Forfeiture Proceeding. Claimant’s Opposition is
22   based upon the attached memorandum of points and authorities, all pleadings and
23   papers on file in this action, and such further matters as may be presented at any
24   hearing on this Motion, and matters of which the Court may take notice.
25   Dated: February 1, 2022                Respectfully submitted,
26                                          /s/ Michael G. Freedman_______
27                                          Michael G. Freedman
                                            Attorney for Claimant
28




                 DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 2 of 11 Page ID #:247



1
                  MEMORANDUM OF POINTS AND AUTHORITIES
2                                     INTRODUCTION
3          The government unlawfully seized claimant’s property nearly a year ago in
4    March 2021 at U.S. Private Vaults (“USPV”). The warrant required the
5    government to notify claimant so he could have his property returned, but the
6    government instead seeks to forfeit that property through this case. The
7    government’s forfeiture case, however, lacks probable cause and is premised on
8    unlawfully obtained evidence that should be suppressed. Rather than allow
9    claimant to proceed with litigation of these important issues so he can have his
10   property returned, the government now compounds the unfairness of this case by
11   seeking to stay the forfeiture case. The court should deny the government’s
12   motion for a stay for several reasons.
13         The government claims that allowing the forfeiture case to proceed would
14   adversely affect a criminal investigation, but this claim is insufficient to meet the
15   governing standard to justify a stay. No discovery has yet been served, so the
16   government’s concern is nothing more than general speculation, which is
17   insufficient to justify a stay. Equally speculative is the government’s criminal
18   investigation because there is no indication claimant was under investigation until
19   the government unlawfully seized his property. That unlawful seizure taints the
20   whole investigation, and it would be unfair to prevent claimant from being allowed
21   to proceed to challenge the forfeiture case and to seek the return of his unlawfully
22   seized property.1
23

24
     1
      As the government notes, it filed similar motions in four cases: United States of
25   America v. $600,980.00 in U.S. Currency; Claimant Mitchell Magee, Case No.
     2:21-cv-06965-RGK-MAR; United States of America v. $399,000.00 in U.S.
26   Currency, et al.; Claimant Derrick Polk, Case No. 2:21-cv-06966-RGK-MAR;
     United States of America v. $341,500.00 in U.S. Currency, et al.; Claimant Ike
27   Roberts, Case No. 2:21-cv-06967-RGK-MAR; and United States of America v.
     $305,000.00 in U.S Currency; Claimant Michael Magee, Case No. 2:21-cv-06968-
28   RGK-MAR. Similarly, claimant’s opposition in this case is similar to the
     opposition filed by the claimants in the other three cases.
                                               1
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 3 of 11 Page ID #:248



1
                                STATEMENT OF FACTS
2          On March 17, 2021, the government obtained a search warrant for USPV.
3    See In the Matter of the Search of 9182 W. Olympic Blvd., Beverly Hills,
4    California, 21-MJ-1302 (Mar. 17, 2021), see Dkt. 1-1, 21-cv-7192-SVW (attached
5    as Ex. A). The warrant authorized the government to seize, inter alia:
6                Nests of safety deposit boxes and keys, and documents
7                and records referring or relating to them since 2019.
8                This warrant does not authorize a criminal search or
9                seizure of the contents of the safety deposit boxes. In
10               seizing the nests of safety deposit boxes, agents shall
11               follow their written inventory policies to protect their
12               agencies and the contents of the boxes. Also in accordance
13               with their written policies, agents shall inspect the contents
14               of boxes in an effort to identify their owners in order to
15               notify them so that they can claim their property.
16   Id., Dkt. 1-1, Ex. A. pp. 11-12 (2:26-3:6 of Attachment B to warrant).
17         In the affidavit in support of the warrant, the FBI agent stated:
18               Agents will follow their written inventory policies to
19               protect their agencies from claims of theft or damage
20               to the contents of the boxes, and to ensure that no
21               hazardous items are unknowingly stored in a dangerous
22               manner. Agents will attempt to notify the lawful owners
23               of the property stored in the boxes how to claim their
24               property, such as by posting that information on the
25               internet or at USPV itself, or by contacting the owners
26               directly. In order to notify the owners directly, agents
27               will, in accordance with their policies regarding an
28               unknown person's property, look for contact information
                                               2
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 4 of 11 Page ID #:249



1
                  or something which identifies the owner. . . . The FBI
2                 policy regarding taking custody of an unknown person’s
3                 property provides, in part, that agents “inspect the property
4                 property as necessary to identify the owner and preserve the
5                 property for safekeeping,” The inspection “should extend
6                 no further than necessary to determine ownership.”
7    Id. at Dkt. 1-1, Ex. A. pp. 103-104 (84:19-85:7 and fn. 40 of application).
8          Claimant’s box at USPV was searched and the government seized the
9    defendant currency from it. Complaint, Dkt. 11, at ¶¶ 5, 20. On October 12, 2021,
10   the government filed the instant complaint seeking to forfeit the currency seized
11   from claimant’s box as well as jewelry seized from his residence on July 15, 2021.
12   Complaint, Dkt. 11 at ¶¶ 5, 20, 21.
13                                      ARGUMENT
14         A. Legal Standard
15         In order to obtain a stay under 18 U.S.C. § 981(g)(1), the government must
16   make an actual showing that civil discovery will adversely affect a criminal
17   investigation. United States v. All Funds on Deposit in SunTrust Account, 456 F.
18   Supp. 2d 64, 65 (D.D.C. 2006); United States v. GAF Fin. Servs., Inc., 335 F.
19   Supp. 2d 1371, 1373 (S.D. Fla. 2004); United States v. Currency $716,502.44,
20   2008 WL 5158291, at *4 (E.D. Mich. Dec. 5, 2008) (“Neither the fact that the
21   Government would be subject to civil discovery, nor bare assertions of hardship by
22   the Government, are enough to satisfy the statutory standard”), citing United States
23   v. All Funds ($357,311.68) Contained in Northern Trust Bank of Florida Account
24   Number 7240001868, 2004 WL 1834589, *2 (N.D. Tx. Aug. 10, 2004).
25         “There is no presumption that civil discovery, in itself, automatically creates
26   an adverse effect on the government’s related criminal proceeding.” All Funds
27   ($357,311.68), citing United States v. All Funds on Deposit in Business Money
28   Market Account No. 028–942059–66 (“All Funds—New York” ), 319 F.Supp.2d
                                               3
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 5 of 11 Page ID #:250



1
     290, 294 (E.D.N.Y.2004) (granting a stay after reviewing a government
2    submission that “demonstrated that allowing civil discovery to proceed will
3    impede the criminal investigation and prosecution”); United States v. All Funds
4    Deposited in Account No. 200008524845, First Union National Bank (“All
5    Funds—Wyoming”), 162 F. Supp. 2d 1325, 1331–33 (D.Wyo. 2001) (granting a
6    stay after reviewing the claimant’s existing discovery requests and the
7    government’s ex parte submissions).
8          Where the government speaks in generalizations and broad terms and fails to
9    relate them to any particular aspect of a criminal investigation, or provide anything
10   more than conclusory statements or speculation to support its claim that civil
11   discovery will jeopardize an investigation, a motion to stay should be denied.
12   United States v. One J.P. Morgan Chase Bank Acct. No. XXXXXXXXXXXX in
13   amount of Seven Hundred Fifty Thousand Dollars ($750,000.00), 2006 WL
14   6562918, at *2 (W.D. Mich. Dec. 14, 2006), citing GAF Fin. Servs., Inc., 335
15   F.Supp.2d at 1373.
16         B. The Government Cannot Meet the Standard for a Stay
17            1. There Is No Showing Discovery Would Have an Adverse Effect
18         The government cannot meet this governing standard in this case. The
19   government has not made a sufficient showing that civil discovery would adversely
20   affect a criminal investigation. Neither party has yet attempted to even serve any
21   discovery in this matter, so it is premature and mere speculation for the
22   government to claim any discovery would adversely affect a criminal investigation.
23   Because there is no specific discovery pending, the government cannot provide
24   anything more than insufficient generalizations about the effect of discovery.
25         Here, as in All Funds ($357,311.68):
26                the Government's arguments do nothing more than
27                speculate about how civil discovery will adversely
28                affect its criminal investigation. Under either of the
                                               4
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 6 of 11 Page ID #:251



1
                  Government's theories, every civil forfeiture case
2                 with a related criminal investigation is entitled to a
3                 stay. Such speculative and conclusory theories
4                 undercut the requirement of section 981(g).
5    All Funds ($357,311.68), 2004 WL 1834589, *2. Likewise, “the Government fails
6    to point to any specific discovery request or abuse that has taken place, and makes
7    no legitimate argument about the prospective ability of [Claimant] to engage in
8    discovery that could compromise its related criminal investigation.” Id. Nor has
9    the government shown that civil discovery will compromise the identity of
10   confidential informants or cooperating witnesses. Id., citing United States v. All
11   Funds on Deposit in Any Account at Certain Financial Institutions Held in the
12   Names of Certain Individuals, 767 F. Supp. 36, 42 (E.D.N.Y.1991); All Funds—
13   Wyoming, 162 F. Supp. 2d at 1331–33; All Funds—New York, 319 F. Supp. 2d at
14   294. Nor has the government shown that claimant might abuse the discovery
15   process with overbroad discovery requests. Id., citing United States v. Funds Held
16   in the Names or For the Benefit of Wetterer, 138 F.R.D. 356, 360–61
17   (E.D.N.Y.1991).
18            2. The Claimed Criminal Investigation Is Dubious and Speculative
19         Nor is the government’s claim regarding the criminal investigation
20   sufficient. The government has made an in-camera submission in this regard, but
21   claimant objects to that submission and urges the Court not to consider it.
22   Furthermore, even if the submission is considered, any purported criminal
23   investigation is factually and legally dubious. There is no indication that claimant
24   was under investigation before his vault was seized. Claimant had nothing to hide
25   as presumably it was his name on his vault that allowed the government to identify
26   him in the first place. The only basis for the government to claim it is investigating
27   claimant is because he had a box at USPV. This is legally improper because, under
28   the warrant for USPV, the government was only supposed to use the information
                                                5
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 7 of 11 Page ID #:252



1
     from the boxes to identify the owners of the boxes to notify them how to claim
2    their property, not to then investigate them. Any criminal investigation thus
3    violates the warrant and is legally flawed. The fact that a follow-up warrant was
4    executed in July does not change this legal deficiency because that warrant is
5    flawed for the same reason – it was improperly based on the tainted search and
6    seizure of USPV.
7              3. The Government’s Fifth Amendment Concern Is Insufficient
8          It also is not sufficient that the government is concerned claimant may assert
9    his Fifth Amendment privilege against self-incrimination. United States v. Real
10   Prop. & Premises, 657 F. Supp. 2d 1060, 1063–64 (D. Minn. 2009)(rejecting as
11   “not enough” the government’s anticipation that claimant would assert the Fifth
12   Amendment); see also United States v. Sum of $70,990,605, 4 F. Supp. 3d 209,
13   214–15 (D.D.C. 2014), citing SEC v. Dresser Indus., 628 F.2d 1368, 1376
14   (D.C.Cir.1980) (affirming the district court’s refusal to stay a proceeding at the
15   request of a person under investigation because there had been no indictment or
16   threat to the person’s Fifth Amendment privilege, and because Federal Rule of
17   Criminal Procedure 16(b) “ha[d] not come into effect” nor had the subpoena
18   required the person to reveal the basis of his defense).
19             4. A Protective Order Would Address Any Valid Concerns
20         Even if these concerns were valid, the Court need not issue a blanket stay
21   but could instead issue a protective order, as required by Subsection (3), to protect
22   sensitive information relevant to the criminal case. United States v. Contents of
23   Accts., 2010 WL 2682397, at *2 (W.D. Ky. July 2, 2010). Contents of Accts. is
24   instructive. In that case, the court noted that:
25                Defendants are already on notice of numerous issues the
26                government is investigating, based on the property seizures,
27                the filing of the civil complaint and the unsealing of Black's
28                affidavit. The government has already lost the element of
                                                6
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 8 of 11 Page ID #:253



1
                  surprise by pursuing the case the way it has. Additionally,
2                 there are several areas of inquiry the Defendants could pursue
3                 that would produce information relevant to their defense that
4                 is wholly unrelated to sensitive information the government
5                 wishes to protect. . . . The government made the calculated
6                 decision to seize what Defendants characterize as substantially
7                 all of their business and personal assets—including their cars
8                 and money to pay their mortgage—prior to an indictment or
9                 the filing of a civil complaint. . . Now, the government seeks
10                to stop the train it set in motion by requesting a stay of civil
11                discovery. In essence, it takes advantage of the civil forfeiture
12                procedures, then tries to halt the civil suit when it becomes
13                inconvenient. This might be more acceptable where Defendants
14                retained the property for the pendency of the action, but it
15                seems inequitable and unreasonable to apply a blanket stay
16                where the government retains the property.
17   Id.
18         The same is true here and a stay would be particularly unfair in this unique
19   case. The government set in motion a series of unlawful searches and seizures at
20   USPV, which continued at claimant’s home. The government has seized a
21   tremendous amount of claimant’s assets, but now seeks to stop claimant from
22   seeking their return under the guise of a baseless claim of a criminal investigation.
23   If the government believes the criminal investigation is more important than the
24   forfeiture case, then it should not have filed the forfeiture case before it was ready
25   to proceed. If it insists on going forward with the criminal investigation, it should
26   be required to dismiss the forfeiture case and return claimant’s property. To issue
27   a stay would unfairly penalize claimant for a problem entirely of the government’s
28   own creation.

                                                7
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
 Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 9 of 11 Page ID #:254



1
           C. A Stay Would Be Fundamentally Unfair In This Case
2          Claimant expects to bring numerous meritorious challenges in the forfeiture
3    case, and the government should not be entitled to delay claimant from doing so
4    when it has not met the governing standard to obtain a stay.
5                 1. There Is No Probable Cause for Forfeiture
6          First, the government’s forfeiture case is not supported by probable cause.
7    “Because the government must swear that probable cause exists at the time it
8    institutes the action, and that specific facts exist to support probable cause, it is
9    entirely reasonable to conclude that probable cause must actually exist when the
10   government brings forfeiture proceedings.” United States v. $191,910.00 in United
11   States Currency, 16 F.3d 1051, 1068 (9th Cir. 1994). For the government to meet
12   its burden, it must demonstrate that it had “reasonable grounds to believe that the
13   [money] was related to an illegal drug transaction, supported by less than prima
14   facie proof but more than mere suspicion.” United States v. $22,474.00 in U.S.
15   Currency, 246 F.3d 1212, 1215-16 (9th Cir. 2001), quoting United States v.
16   $30,060.00 in U.S. Currency, 39 F.3d 1039, 1041 (9th Cir. 1994) (brackets in
17   original) (citation and internal quotation marks omitted); United States v.
18   Dickerson, 873 F.2d 1181, 1184 (9th Cir. 1988).
19         Here, the government’s forfeiture case fails to meet this standard because it
20   relies primarily on general allegations regarding USPV that have nothing to do
21   with claimant. This guilt-by-association fails to demonstrate probable cause for
22   the forfeiture of claimant’s funds. Nor is it sufficient that the government relies on
23   claimant’s criminal history generally without providing any connection between
24   these past convictions and the funds seized in this case. U.S. v. $10,700.00, 258
25   F.3d 215, 223-24 (3d Cir. 2001) (“the government has not presented any evidence
26   whatsoever from which it could be inferred that claimants were involved in any
27   drug exchange at or around the time that the government instituted forfeiture
28   proceedings.”) The government lacks probable cause from the start. It should not
                                                 8
                 DERRICK POLK’S OPPOSITION TO MOTION TO STAY
Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 10 of 11 Page ID #:255



1
     be allowed to delay claimant from litigating this issue under the guise of a baseless
2    criminal investigation. And it would be particularly unfair to give the government
3    additional time in a case where its lack of probable cause is already clear.
4    Moreover, the government may not later attempt to bolster its deficient probable
5    cause showing with additional facts.
6          Additionally, the government relies heavily on the alleged canine alert, but
7    the Ninth Circuit has repeatedly rejected the government’s reliance on alerts by
8    drug-sniffing dogs, giving the factor little weight in light of the widespread
9    contamination of money with drug residue in the Los Angeles area. $49,576.00
10   U.S. Currency, 116 F.3d 425, 427 (9th Cir. 1997); citing $30,060.00 in U.S.
11   Currency, 39 F.3d at 1041-42 (noting that the Ninth Circuit has only upheld
12   probable cause findings in cases involving a positive canine alert when alert was
13   combined with other credible evidence clearly connecting the money to drugs)
14   (citing numerous cases); see also United States v. $42,500 U.S. Currency, 283 F.3d
15   977, 982 (9th Cir. 2002) (a sophisticated canine alert is where a canine “reacts only
16   to ephemeral by-products of narcotics and not to commonly circulated currency”);
17   U.S. v. $100,120.00, 730 F.3d 711, 720 (7th Cir. 2013); U.S. v. Esteban, 283 F.
18   Supp. 3d 1115, 1134-38 (D. Utah 2017).
19         Indeed, in this case the alleged canine alert is particularly deficient to show
20   probable cause as to claimant’s funds because the government’s theory is that
21   USPV is permeated by narcotics proceeds, especially marijuana, so the
22   government cannot demonstrate that it was defendant’s funds in particular that
23   caused the canine to alert or that the alert is of any probative value. See, e.g.,
24   People v. McKnight, 446 P.3d 397, 408 (Colo. 2019) (explaining that dogs trained
25   to alert to marijuana, among other drugs, have no probative value in Colorado (or
26   other states that have legalized marijuana).
27

28


                                                9
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
Case 2:21-cv-06966-RGK-MAR Document 30 Filed 02/02/22 Page 11 of 11 Page ID #:256



1
                  2. Claimant Should Be Allowed To File a Suppression Motion
2          In addition to failing to demonstrate probable cause, the government’s case
3    is also susceptible to a motion to suppress. Supplemental Rules for Admiralty
4    Rule G (8) (a) specifies that a claimant can file a motion to suppress use of the
5    property as evidence. And the exclusionary rule applies to all fruits of the search in
6    forfeitures and to hold otherwise “would merely reward the government for
7    carrying out an illegal search or seizure”. U.S. v. $493,850.00 in U.S. Currency
8    518 F.3d 1159, 1165 (9th Cir. 2008). For the reasons discussed above, the initial
9    USPV search warrant lacked probable cause as to claimant and the warrant did not
10   allow for the seizure of claimant’s property. This Court has already recognized the
11   questionable basis for the government’s conduct in this case. See Snitko et al. v.
12   U.S., 21-CV-4405-RGK, Dkt. 60 (“the Court determines that the facts and the law
13   clearly favor Ruiz as to his Fourth Amendment claim”). Claimant should be
14   allowed to litigate this issue in this case and should not be prevented from doing so
15   by a stay. Likewise, the follow-up warrant fares no better because it stemmed
16   from the first, unlawful search and seizure. The entire case suffers from this
17   unlawful foundation, which a stay would perpetuate by unfairly denying claimant
18   the right to challenge the case and seek the return of his property.
19                                     CONCLUSION
20         For all the foregoing reasons, claimant respectfully requests that the Court
21   deny the government’s motion.
22   Dated: February 1, 2022                 Respectfully submitted,
23                                           /s/ Michael G. Freedman_______
24                                           Michael G. Freedman
                                             Attorney for Claimant
25

26

27

28


                                               10
                DERRICK POLK’S OPPOSITION TO MOTION TO STAY
